Case 4:17-cv-03877 Document 15 Filed in TXSD on OZ#J”§#H§§@\Q€ 1 of 2
f""'*'l?i` §§on ~
F/i’és'"fr§

l
NOT|CE: TH|S DOCUMENT CONTA|NS SENSIT|VE DATA FEB 72

 

 

 

 

DAWdJ 2076
Cause Number: `\~` 'sl'ag[$; .:

(The Clerk's office Will lll/ ln the Cause Numbe/ when you file H lkbfca

P|aintiff: Kamm€ O |n the lehec,'< one): ` ' '
(Pn`nt first and last name of the person filing the lewsult_} M Dlsmct Court

And /C\?/:;;;;)er § County Court / County Court at Law
§ Justice Court
Defendant: TEXAS A&|V| UN|VERSITY SYSTE|\/l BRAZOS Texas
(Pn'nl first and last name of the person being sued.) County

Statement of inability to Afford Payment of Court Costs
or an Appeal Bond in Justice Court

1. Your information

 

 

lv\yfull legal name is; Kamm€ O lviy date of birth is; _ _
Fir'sl Middle Last Monlh/'Day/Year
l\/|y address iS; ,/Hom€) 3503 Winding Road, Hearne, Texas 77859
(Ma//mg) *same as above*

 

|\/|y phone number: 979-575-1091 |\/|y emai|: AggieCarpenterMOm@gmail.COm

About my dependents: “The people who depend on me financially are listed below.
Name Age Relatlonshl`p to Me

 

 

 

 

 

CDO'l-(>(.\JN-\

 

2. Are you represented by Legal Aid?

§ l am being represented in this case for free by an attorney who works for a legal aid provider or who
received my case through a legal aid provider. l have attached the certificate the legal aid provider
gave me as ‘Exhibit: Legal Aid Certificate.

-or-

§ | asked a legal-aid provider to represent me, and the provider determined that l am financially eligible
for representation, but the provider could not take my case. l have attached documentation from
legal aid stating this.

or-

§ l am not represented by legal aid. | did not apply for representation by legal aid.

3. Do you receive public benefits?
§ | do not receive needs-based public benefits. - or -

§ l receive these public benefits/government entitlements that are based on indigency:
(Checl< Al.l_ boxes that apply and attach proof to this form: sz.)cl) as a copy afa/1 eliglbility form or cl)ecl<)

§ Food stamps/SNAP § TANF § l\lledicaid § CHIP § SS| § W|C § AABD
§ Public Housing or Section 8 Housing § l_ow-|ncome Energy Assistance § Emergency Assistance
§ Te|ephone Life|ine § Community Care via DADS § LIS in l\lledicare (“Extra He|p")

§ Needs-based VA Pension § Child Care Assistance under Child Care and Development Block Grant
§ County Assistance, County Health Care, or General Assistance (G/-\)
§ Other:

 

© Forrn Approved by the Supreme Court of Texas by order in Misc. Docket No. 16-9122
Statement of inability to Afford Payment of Court Costs Page 1 of 2

Case 4:17-cv-03877 Document 15 Filed in TXSD on 02/12/18 Page 2 of 2

4. What is your monthly income and income sources?

“l get this monthly income:
$ 0 in monthly wages. l work as a

§ 0 in monthly unemployment l have
§ 0 in public benefits per month.

Vour,iob title

for
Your employer

been unemployed since ware 02-12-2016

 

§ 0 from other people in my household each month: rust on/yi,’omermemt)ers contribute re your

household lncome,)

§ 1234-34 from § Retirement/Pension § Tips, bonuses

§ Social Security
§ Child/spousal support

§ Disabi|ity

§ Worker’s Comp
§ l\/|ilitary Housing § Dividends, interest, royalties

§ l\lly spouse's income or income from another member of my household l/favai/at>/e)

$_
$ 1234-34 ' is mytota/month|y income.

5. What is the value of your property?

from otherjobs/sources of income. (Descube)

 

6. What are your monthly expenses?

 

 

 

 

 

 

 

 

"l\/|y property includes: Va|ue* “l\/ly monthly expenses are: Amount
Cash M Rentlhouse payments/maintenance M
Banl< accounts, other financial assets Food and household supplies $ 150.00
BOA CheCkinQ $ 641.16 Utilities and telephone $ 270.00
BOA SaVinQS $ 84.33 Clothing and laundry $ 0
$ Medica| and dental expenses $ 75.00
Vehicles (cars_, boats) (make and yeah insurance (life, health, auto, etc.) $ 60.00
2004 Saturn |ON $ 428.00 School and child care $ 0
1987 Jeep Comanche $ 250.00 Transportation, auto repair, gas $ 100.00
$ Child / spousal support $ 0
Other property (lil<e jewelry, stocksl land, Wages Withheld by court order
another house, etc.) $ 0
$ Debt payments paid to: rush $ 0
$ Rooms to Go $ SO_OO
$ $

 

Total value of property -) $ 1423.49

'The value is the amount the item would sell for less the a

7. Are there debts or other facts explaining
"le debts include: (Llst debt and amount owed)

mount you still owe on it, il anything

your financial situation?

Total Month|y Expenses _» $1235.00

 

Unsercured credit cards have gone upaid 2016 to present Dillards $1200+, Home Depot $3000+, Macy's $1100+. Kohls $1500+

Type 2 Diabetic = haven't had LAB tests since TAMU terminated my job 01-29-2016. Do not qualify for Medicaid at age 51“.
(lf you want the court to consider other lacts, such as unusual medical expensesx family emergencies etcr, attach another page to
this Iorrn labeled ‘Exhibit: Adrl)'tlonal Supporting l~'-acts. ') Check here if you attach another page.§

8. Dec|aration

l declare under penalty of perjury that the foregoing is true and correct. l further Swear:

l cannot afford to pay urt costs.
§ l cannot fur1ish an ap'§e§\l bond or pay a cash deposit to appeal a justice court decision.

 

 

 

 

My ameis\ Kamme . Mydate of birth is:

My d ess 3 3503 wiidiq'g Road Heame rean 77859 u.s.A.
c r ,t C/'ty State Zip Code Cou/vtry

b signed on 02/ 09 /2018 in ROBERTSON County, TEXAS

Signatu Month/Day/Year county name State

© Form Approved by the Supreme Court of Texas by order in Misc. Docket No. 16-9122

Statement of /nability to Afford Payment of Court Costs

Page 2 of 2

